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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                        Chapter 11
In re:
                                                        Case No. 14-10979 (CSS)
ENERGY FUTURE HOLDINGS CORP., et al.,1
                                                         (Jointly Administered)
                          Debtors.
                                                         Obj. Deadline: February 18, 2015




           FIRST MONTHLY FEE STATEMENT OF CRAV ATH, SWAINE & MOORE
               LLP FOR ALLOWANCE OF AN ADMINISTRATIVE CLAIM FOR
            COMPENSATION AND REIMBURSEMENT OF EXPENSES INCURRED
                 FROM NOVEMBER 16, 2014 THROUGH DECEMBER 31, 2014


                    Name of Applicant                        Cravath, Swaine & Moore LLP

     Authorized to Provide Professional Services        Energy Future Intermediate Holding
     to:                                                Company LLC, Debtor and Debtor in
                                                        Possession
     Date of Retention:                                 Retention Order Entered January 16, 2015
                                                        (effective as of November 16, 2014)
     Fee Period for which compensation and              November 16, 2014 through
     reimbursement is sought:                           December 31, 2014

     Amount of Compensation sought as actual,           $ 417,457.60 (80 % of $521,822.00)
     reasonable and necessary:

     Amount of Expense Reimbursement sought             $1,605.23
     as actual, reasonable, and necessary:


This is a X monthly _interim _final application. No prior application filed for this Fee Period.2




1
 The last four digits of Energy Future Holdings Corp.'s tax identification number are 8810. The location
of the debtors' service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of
debtors in these chapter 11 cases, for which joint administration has been granted, a complete list of the
debtors and the last four digits of their federal tax identification numbers is not provided herein. A
complete list of such information may be obtained on the website of the debtors' claims and noticing
agent at http:/ /www.efhcaseinfo.com.
2
    Notice of this Monthly Fee Statement is being served in accordance with the Interim Compensation
    Order and Fee Committee Order. Objections to the relief requested in this Monthly Fee Statement must
    be addressed in accordance with the Interim Compensation Order and Fee Committee Order.
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       The law firm of Cravath, Swaine & Moore LLP ("Cravath"), independent counsel for

Energy Future Intermediate Holding Company LLC, debtor and debtor in possession ("EFIH"),

files this Monthly Fee Statement under:

            (a) Sections 327, 330, and 331 of chapter 11 of title 11 of the United States Code,

            (b) Rule 2016 of the Federal Rules of Bankruptcy Procedure,

            (c) the Order Approving the Employment of Cravath, Swaine & Moore LLP as Counsel

                 Energy Future Intermediate Holding Company LLC Under Sections 327(a) and 1107(b)

                 of the Bankruptcy Code, Effective Nunc Pro Tune to November 16, 2014 [D.I. 3321],

            (d) the Order Establishing Procedures for Interim Compensation and Reimbursement of

                 Expenses for Professionals, dated September 16, 2014 [D.I. 2066] (the "Interim

                 Compensation Order"),

            (e) the Stipulation and Order Appointing a Fee Committee [D.I. 1896] (the "Fee

                 Committee Order"), and

            (f) the Local Rules of Bankruptcy Practice and Procedure of the United States

                 Bankruptcy Court for the District of Delaware,

for: (i) compensation in the amount of $417,457.60 for the reasonable and necessary legal

services K&E rendered to the Debtors from November 16, 2014 through December 31, 2014 (the

"Fee Period") (80 % of $521,822.00); and (ii) reimbursement for the actual and necessary

expenses that Cravath incurred, in the amount of $1,605.23 during the Fee Period.

                   Itemization of Services Rendered and Disbursements Incurred

       1.         In support of this Monthly Fee Statement, attached are the following exhibits:

            •    Exhibit A is a schedule of the number of hours expended and fees incurred
                 (on an aggregate basis) by Cravath partners, associates, and
                 paraprofessionals during the Fee Period with respect to each of the subject
                 matter categories Cravath established in accordance with its internal billing

                                                    2
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                 procedures. As reflected in Exhibit A, Cravath incurred $521,822.00 in fees
                 during the Fee Period. Cravath seeks reimbursement for 80 % of such fees
                 ($417,457.60 in the aggregate) under this Monthly Fee Statement.

            •    Exhibit Bis a schedule of Cravath attorneys and paraprofessionals for whose
                 work on this chapter 11 case Cravath seeks compensation in this Monthly Fee
                 Statement, listing their positions, years of experience, hourly billing rates,
                 and hours charged during the Fee Period. Cravath is charging for a total of
                 532.70 hours of attorneys and paraprofessionals time in connection with this
                 chapter 11 case during the Fee Period.

            •    Exhibit C is a schedule of the expenses, by kind of expense, for which
                 Cravath seeks reimbursement for the Fee Period.

            •    Exhibit Dis a detailed listing of expenses, by subject matter category, that
                 Cravath incurred during the Fee Period in rendering professional services to
                 EFIH and for which it seeks reimbursement.

                                   Proposed Payment Allocation

       2.         In accordance with paragraph 5 of the Interim Compensation Order, all

Cravath' s fees and expenses sought in this Application are allocated to EFIH.

                                          Representation

       3.         Although Cravath has made reasonable efforts to include all fees and expenses

incurred in the Fee Period, some fees and expenses might not be included in this Monthly Fee

Statement due to delays caused by accounting and processing during the Fee Period. Cravath

reserves the right to make further application to this Court for allowance of such fees and

expenses not included in this Monthly Fee Statement.




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       WHEREFORE, Cravath requests allowance of its fees and expenses incurred during the

Fee Period in the total amount of $419,062.83 consisting of (a) $417,457.60, which is 80 % of the

fees incurred by EFIH for reasonable and necessary professional services rendered by Cravath

in this case; and (b) $1,605.23 for actual and necessary costs and expenses incurred by Cravath

in this case, and that such fees and expenses be paid as administrative expenses of EFIH in

accordance with the Interim Compensation Order. Isl ~


                                                     Richard Levin (rlevin@cravath.com)

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                                                     825 Eighth Avenue
                                                     New York, NY 10019
                                                     +1(212)474-1000

                                                     Independent Counsel for Energy Future
                                                     Intermediate Holding Company LLC




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                        IN THE UNITED STATES BANKRUPTCY COURT
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                                                          Chapter 11
In re:
                                                          Case No. 14-10979 (CSS)
ENERGY FUTURE HOLDINGS CORP.,                et al.,1
                                                          (Jointly Administered)
                           Debtors.




                               VERIFICATION OF RICHARD LEVIN


           1.      I am a partner in the law firm of Cravath, Swaine & Moore LLP, located at

    Worldwide Plaza, 825 Eighth Ave., New York, New York 10019 ("Cravath"). I am the lead

    attorney from Cravath working on this chapter 11 case. I am a member in good standing of

    the Bar of the State of New York, and I have been admitted to practice in the United States

    Bankruptcy Court for the Southern District of New York and the United States Bankruptcy

    Court for the Eastern District of New York. There are no disciplinary proceedings pending

    against me.

           2.      I have personally performed many of the legal services rendered by Cravath

    as independent counsel to Energy Future Intermediate Holding Company LLC ("EFIH")

    and am familiar with all other work performed on EFIH' s behalf by the lawyers and other

    persons in the firm.

           3.      The facts set forth in the foregoing Monthly Fee Statement are true and


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of the debtors' service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of
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 correct to the best of my knowledge, information, and belief.

       4.      I have reviewed Rule 2016-2 of the Local Rules of Bankruptcy Practice and

Procedures of the United States Bankruptcy Court for the District of Delaware and believe

that the Monthly Fee Statement for Cravath, Swaine & Moore LLP complies with Rule 2016-2.

       5.       I declare under penalty of perjury under 28 U.S.C. § 1746 that the foregoing is

true and correct.

                                             Res~lly submitte~

                                             Isl   r)[~(}(A~.
                                             Richard Levin
                                             Partner, Cravath, Swaine & Moore LLP




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